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C. CONRAD CLAUS, ESQ.
State Bar Number 6601

816 E, Ogden Avenue

Las Vegas, Nevada 89101
702-384-4927 Fax 385-4927

Conrad@lawiswar.com

Attorney for Plaintiff

 

DARYAL TAYLOR,

Plaintiff,

VS,

TOWN OF PAHRUMBP, an Unincorporated
Political Subdivision of the State of Nevada,
NYE COUNTY SHERIFF’S
DEPARTMENT, a political subdivision of
Nye County, State of Nevada, NYE
COUNTY, a Political Subdivision of the State
of Nevada, DAVID BORUCHOWITZ,
individually and in his capacity as Detective
with the Nye County Sheriff's Office,
ANTHONY DE MEO, individually and in his
official capacity as Sheriff Nye County,
Assistant Sheriff RICK MARSHALL,
Investigator MARY HUGGINS, individually
and in her capacity as Investigator Nye
County Sheriffs Office, Sergeant Travis
Huggins, individually and his capacity as
Sergeant, NCSO, Lint. ED HOWARD,
individually and in his capacity as a
Lieutenant Nye County Sheriff's Office,
Officer McNeil, individually and in her
capacity as Officer Nye County Sheriff’s
Department. NYE COUNTY DISTRICT
ATTORNEY’S OFFFICE, a political
subdivision of the State of Nevada, KIRK
VITTO, Esq., individually and in his official
capacity as Assistant District Attorney, Nye
County Nevada, ROBERT BECKETT,
individually and in his official capacity as
District Attorney, POLICE OFFICER DOES
1-100, JOHN DOES | through 100, inclusive;
and ROE CORPORATIONS 1 through 100,
Defendants.

 

 

 

 

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IN THE UNITED STATES DISTRICT COURT
DISTRICT OF NEVADA

CASE NO.

PLAINTIFF’S ORIGINAL COMPLAINT
FOR DAMAGES, AND DEMAND FOR
JURY TRIAL

 
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JURISDICTION AND VENUE

1. This is a civil rights action for wrongful, malicious prosecution, abuse of process,
false arrest, perjury, and other causes of action brought by Plaintiff, an African-American
former Nye County law enforcement officer, against the above named defendants pursuant
to 42 U.S.C. 8§ 1983, and the Fourth, Fifth and Fourteenth Amendments of the United
States Constitution. Jurisdiction is founded on 29 U.S.C. §§1331 and 1343(1), (2), (3) and
(4), and the aforementioned statutory and Constitutional provisions. Plaintiffs further
invoke the supplemental jurisdiction of this Court pursuant to 28 USC § 1367 to hear and
decide claims arising under state law.

2. Venue in this District is proper because all facts pleaded herein and all acts and

omissions giving rise to this complaint occurred within the District of Nevada.

PARTIES

3, Plaintiff, DARYAL TAYLOR, is a former Nye County, Nevada peace officer
who was wrongfully and maliciously arrested and wrongfully prosecuted, said wrongful
conduct forming the basis of this cause of action. He brings this action individually and is
in all ways entitled to bring this action under NRS 41,032 and federal civil rights laws. Mr
Taylor is, and was at all times relevant herein, a resident of Clark County, Southern
District of Nevada. Further, Plaintiff was wrongfully terminated by virtue of a forced
resignation during the pendency of the underlying bogus criminal action, and denied the
opportunity to vest him pension with accrued attendance,

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4. Atall times relevant herein, Defendant NYE COUNTY SHERIFF'S OFFICE
(NCSO) was, and remains, a political subdivision of Nye County and the State of Nevada.
NCSO is a law enforcement agency entrusted to provide thorough and accurate
investigation, reporting, and police protection throughout Nevada. At all times relevant
herein, NCSO employs or employed the other Defendants, in this action.

5, At all times relevant herein, Defendant, ANTHONY DE MEO, was elected
Sheriff of NCSO and was acting within the course and scope of his employment. As
Sheriff, he is a policy-making official and is responsible for NCSO with power to make
official and final policy for NCSO. He is sued in his individual as well as in his official
capacity,

6. At all times relevant herein, Defendant RICK MARSHALL, was an
Assistant Sheriff with NCSO, and in his capacity was the head of Internal Affairs division
of NCSO, with the power to make policy decisions and final policies and decisions for
NCSO. He is sued in his individual as well as in his official capacity. Defendant Marshall,
acting with oppression, malice, and with discriminatory intent, willfully and knowingly
forced the Plaintiff to resign one month prior to his becoming vested, even though the
Plaintiff had more than sufficient accrued pay to allow Plaintiff to be vested.

7, At all times relevant, DETECTIVE DAVID BORUCHOWITZ was and is
employed with NCSO as an Investigator and was acting within the course and scope of his
employment during the entirety of the events that lay a basis for this Complaint. He is
sued in his individual and in his official capacity.

8. _At all times relevant, INVESTIGATOR MARY HIGGINS, was employed

with NCSO as an Investigator and was acting within the course and scope of her

 

 
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employment with NCSO. She reports directly to codefendant Rick Marshall. She is being
sued in her individual as well as in her official capacity.

9, At all times relevant, LTNT. ED HOWARD was employed with NCSO as
an Investigator and was acting within the course and scope of his employment with
NCSO. He is being sued in his individual as well as in his official capacity.

10, At all times relevant, KIRK VITTO, ESQ., is a prosecutor who was
assigned to prosecute this case, particularly when he conducted a preliminary hearing in
this case in which he knowingly and/or with reckless disregard for the truth sponsored
perjured testimony to taint the probable cause process, in violation of the Plaintiffs civil
rights, He is sued in his individual capacity and in his official capacity.

il. At all times relevant, ROBERT BECKETT, ESQ., was the elected District
Attorney of Nye County, Nevada, who is a policy-making official and is entrusted with
the power and authority to make final decisions regarding the prosecution of citizens
accused of criminal conduct, having regard to his duties to seek justice, free from violating
a defendant's civil rights. He is sued in his individual capacity and in his official capacity.

12. At all times relevant herein, and in all actions described herein, co-
Defendants Sheriff De Meo the named and DOE OFFICERS were acting under color of
law and under color of authority as officers of NCSO, and are being sued in their
individual and in their official capacity.

13, The true names and capacities, whether individual, corporate, associate,
partnership or otherwise were the agents of one another of Defendants herein designated

CORPORATIONS 1 through 100 (inclusive) are unknown to Plaintiff, who, therefore sues

 

 

 
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said Defendants by such fictitious names. Plaintiff alleges that each named defendant and
each defendant designated as OFFICERS DOES, JOHN DOES, and ROE
CORPORATIONS negligently, willfully, maliciously, contractually, vicariously, or
otherwise legally responsible for the events and happenings herein referred to and likewise
proximately caused injury and damages to Plaintiff reserves the right to ask leave of this
Court to insert the true names and capacities of such Defendants when the same have been
ascertained, and will further ask leave to join said Defendants in these proceedings.

14, That the named Defendants, as well as DOES 11-20 are supervisory and/or
policy making officials of NCSO and/or the NYE COUNTY DISTRICT ATTORNEY’S
OFFICE as yet unidentified who have adopted, implemented, maintained or tolerated
polices which permitted, facilitated or allowed the violation of Plaintiff's civil rights
and/or who have negligently trained, hired, or supervised officers, agents or employees of
the County of Nye. Plaintiff will ask leave of this Court to insert the true names and
capacities of such Defendants when the same have been ascertained and will further ask
leave to join said Defendants in these proceedings.

15, That at all times relevant to this complaint, all of the actions of Defendants,
and each of them, were performed under color of State law and pursuant to their authority
as County of Nye employees and/or agents or otherwise.

16, That at all times pertinent hereto the Defendants, and each of them, were
the agents, servants, employers and/or employees of each other and were acting within the
course and scope of their relationship.

17... That the Defendants, known and unknown, were all acting under color of

law during the entire process against the Plaintiff, and violated his civil rights by acts and

 

 
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conduct including but not limited to filmg bogus charges, giving and sponsoring perjury,
tainting the probable cause process, pressuring the prosecutors to bring charges,
investigating this case in such a knowingly patently deficient manner so contrary to
established investigative policies that the Plaintiff, a four year eleven month peace officer,
was denied any semblance of Due Process, engaging in wrongful termination, all to his
damages well in excess of the jurisdictional minimums of this court. The Defendants
knew, or should have known, of Mr. Taylor’s absolute innocence at the very beginning of
this process, commencing with an investigation lacking in Due Process, an arrest made
maliciously and without probable cause, a bindover based upon tainted probable cause,
continuing with the exculpatory DNA testing that WAS done and failure to dismiss
charges knowing or having reason to know of the defendant’s innocence, continued
prosecution in violation of his civil rights by among other things undue pressure exerted
by NCSO and its agents and employees and culminating in a jury trial where Defendant
Boruchowitz willfully, knowingly, and with intent to violate the Plaintiffs civil rights,
committed perjury, attempted to withhold material impeachment and exculpatory
evidence, and said proceedings terminating in his favor on November 29, 2011, after a
jury of Mr. Taylor’s peers acquitted him in less than 30 minutes. Thus, this action is
timely filed. Said conduct permeated the entirety of this case, in violation of the
Plaintiffs civil rights.

18. That plaintiff is informed and believes, and thereon alleges, that at all
times herein mentioned each defendant aided, abetted, condoned, permitted,
willfully ignored, approved; authorized and/or ratified the unlawful acts hereinafter ~-

described, all in violation of the Plaintiffs civil rights.

 

 
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19. That this is corroborated by Defendant Boruchowitz’s own testimony
that his “job” was NOT to prove the Plaintiff innocent, but to prove the Plaintiff
(Mr. Taylor) guilty.

20. That as a proximate result of defendants' deprivation of federal and state
civil rights, plaintiff has suffered, continues to suffer and will suffer general and special

damages and is entitled to exemplary and punitive damages and attomey fees.
ALLEGATIONS COMMON TO ALL CLAIMS.

at. That on March 26, 2008, the Plaintiff, acting in the scope and course of his
duties as a peace officer for NCSO, transported a prisoner, Shannon Knight, to Advanced
Urgent Care, located in Pahrump, Nevada, for a medical visit.

22. That Shannon Knight had previously brought sexual-related charges
against an individual, and as a result, was able to obtain a monetary settlement. This fact
was known, or should have been known, to the Defendants, since the suspect was
prosecuted in Nye County, convicted, and sent to prison. Thus, it was known that the
complaint would have the knowledge to articulate sexually-related charges against
individuals, whether true or false.

23, That Ms. Knight, during the relevant time frame, was in custody on serious
drug trafficking charges, and it was not only reasonably foreseeable, but also known, that
she would attempt to enrich herself as well as attempt to reduce her eventual sentence.
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She is currently on parole, and the trial of the Plaintiff was delayed long enough for her to
serve her sentence and be released from confinement, all to the prejudice of the Plaintiff,
who had to languish under the cloud of this false allegation until his quick acquittal on
November 29, 2011.

24, That Ms. Knight, the complainant, had the type of criminal background
that, from an objective and subjective standpoint, would cause a reasonable person to
question her credibility and her motives, whereas Mr. ‘Taylor was a veteran police officer
close to five years vesting.

25, That the Plaintiff is an African-American, and his ethnicity was ofien the
topic of ridicule by members of NCSO.

26, That prior to the Plaintiff's transporting Ms. Knight back to the detention
facility, personnel at Advanced Urgent Care explained that she had serious medical issues,
and needed to be tested for various diseases and other illnesses, including but not limited
to herpes, syphilis, HIV, gonorrhea, and other diseases, since she was a methamphetamine
addict. This fact was told to the Defendant Boruchowitz when he interviewed the
Plaintiff, and provides a compelling motive for the Plaintiff NOT to engage in any sexual
contact with Ms. Knight.

Zt. That this fact was explained to Defendant BORUCHOWITZ by the
Plaintiff, when he was initially questioned about the incident on or about March 26, 2008.

28, That throughout the transport, the Plaintiff engaged in conversation with

her along the route, personal, but in all ways legal.

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29, That the Plaintiff took the most direct route back to the detention center,
pursuant to his duties. This fact was known to the defendants, or through the exercise of
reasonable diligence, should have been known.

30, That after Ms. Knight arrived at the detention center, she arranged an
interview with members of the NCSO, wherein she claimed that the Plaintiff had engaged
in felonious behavior with her, claiming that he committed acts of digital penetration on
her person.

31, That after Ms. Knight reported the alleged sexual assault, she was in a
physical state where evidence was ripe for DNA gathering, in accordance with established
investigative policies of the NCSO and practically all law enforcement agencies. This
evidence would have conclusively rebutted the fantasy and false allegations that Ms.
Knight was manufacturing.

32, That a rape kit test was not utilized, and thus no DNA was collected from
her private areas; the failure to collect DNA from her person was in willful, malicious, and
deliberate violation of established, reasonable investigative police procedures, part and
parcel of the wholesale violation of the civil rights of the Plaintiff to a Due Process right to
a fair investigation; a fair investigation consistent with established policies would have
included DNA testing performed with a rape test kit in accordance and pursuant to well
established policies and procedures.

33, That during the interview process of Ms. Knight with Detective Huggins,
Ms. Knight also brought up that she wanted to cooperate with the DEA to help her
personal situation, and that she wanted a personal meeting with her fiancé, who was

likewise, incarcerated, even asking for makeup. Thus, it was clear that Ms. Knight was not

 

 
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performing a public service, but was interested in helping her custodial situation any way
she could,

34, That prior to the transport, she had also called Kirk Vitto, Esq., in an effort
to try to snitch her way into some favorable treatment, who rejected her requests to be a
reliable credible witness.

35. Thus, agents of law enforcement, including Mr. Vitto, Esq., assistant
district attorney, made it clear that they did not want to utilize her as an informant,
because she was not credible.

36. The totality of the circumstances of Ms. Knight makes the failure to
provide a reasonably fair investigation, in violation of the Plaintiff's civil and
constitutional right. This failure to conduct a reasonable investigation is particularly
compelling, since the Defendant Boruchowitz, during the interview of complainant
Knight, told her that he would be conducted a swab of her private area, and wilfully and
maliciously failed to utilize the rape test kit to conduct a swab of the area where she
falsely stated the Plaintiff penetrated.

37. That after this incident was reported to Detective Boruchowitz, the Plaintiff
immediately, at approximately midnight, in violation of his Garrity rights (Garrity v.
State of N.J. 385 U.S. 493, 87 S.Ct. 616 (U.S.N.J. 1967)), drove to the NCSO,
pursuant to the directive of Defendant Boruchowitz, to be interrogated by Defendant
Boruchowitz

38. That the Plaintiff arrived at Defendant Boruchowitz’s office, and fully
cooperated with Defendant Boruchowitz-in the investigation of this-wrongfully initiated. -

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39. That the Plaintiff was never right any admonitions of any kind, in violation
of his civil rights under the Garrity case.
40, That the Plaintiff was truthful, consistent, and unequivocally denied

committing any acts of sexual conduct on the complaint/drug trafficking suspect, Ms.

Knight,
4], That during this interview, Plaintiff literally pleaded for full DNA testing.
42. That the Plaintiff explained to Defendant Boruchowitz that upon transfer of

Ms. Knight back to the detention center, the medical staff told Plaintiff that Ms. Knight
would have to be tested for many diseases, among those, AIDS, hepatitis C, gonorrhea,
syphilis, and other serious communicable diseases.

43, That it was clearly known to a reasonably objective investigator that
anyone, much less, the Plaintiff would never subject himself to acquiring these
communicable diseases by inserting his hands into the vaginal areas of someone with the
potential to have this litany of communicable diseases such as Ms. Knight.

44. That this fact is highly corroborative of there being no probable cause to
charge and/or arrest the plaintiff.

4S, That Defendant Boruchowitz interviewed the complainant, and was aware
of the Plaintiff's steadfast denials and his pleas for DNA testing.

46, That Defendant Boruchowitz affirmatively told Ms. Knight that he would
see her in the morning to conduct a swab of her, consistent with established investigative

policies of the Defendant NCSO in sexual assault investigations.

AT, That after Defendant Boruchowitz interview the Plaintiff, he, Lint. Howard, _

and other members of NCSO charged with decision making authority made the conscious,

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willful, and deliberate choice NOT to utilize the rape test kit to conduct a vaginal swab of
Ms. Knight.

48. That the course of the investigation .Defendant Boruchowitz was told by
Ms. Knight that the Plaintiff's car, during the transport, came to a stop in front of Irene’s
Casino, which prompted Defendant Boruchowitz, in his official capacity, to travel to
Irene’s Casino, where he obtained a video, which showed the Plaintiff's vehicle, on the
time and date in question, not stopping, not slowing down, rather, the car passed Irene’s at
anormal and consistent rate of speed.

49, That upon viewing the video, it was apparent that Ms. Knight was lying;
the Plaintiff's vehicle did not slow down, much less stop, as falsely represented by Ms.
Knight.

50. That Defendant Boruchowitz knew she was not truthful in her account of
the events,

S51. That Defendant Boruchowitz knew that she had brought sexual assault
charges before.

5?, That Detective Boruchowitz knew of her serious criminal record, the
pending charges, and the probability that she would go to prison.

53. That Detective Boruchowitz knew that she wanted to inform on people in
order to help her current legal situation.

54, That Detective Boruchowitz, Defendant Ltnt. Howard, and other

supervisory personnel at NCSO were so concerned about the plausibility of Ms. Knight’s

i story, that the defendants Boruchowitz, Howard, and other NCSO personnel, all acting.

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within their scope and duties, reversed course, and reneged on Boruchowitz’s his
statement to Ms. Knight that he would come back to do a “swab” or her person.

55. That Defendant Boruchowitz also reached out to members of the
community and could not find any person who would tell him that she was of truthful
character; in truth and fact, members of the community told Defendant Boruchowitz that
she could not be believed.

56, That the Defendants knew that Ms. Knight’s credibility was next to nil, and
that there would be a heightened need for corroborative testing, ata minimum, the
utilization of established investigative procedures and policies of the NCSO by use ofa
rape test kit.

57, That said reasons for knowing that there was not probable cause to bring
these charges include but are not limited to her falsely stating that during the trip back to
the detention facility with Plaintiff that his car slowed down and/stopped in front of
Irene’s casino (causing Detective Boruchowitz to attempt to conceal this false statement to
the jury as well as to misrepresent this materially false statement during critical phases of
this case), verifying her bad character for truthfulness by members of the community, her
substantial criminal record and the attendant virtual certainty of doing prison time, the
Plaintiff's unequivocal and logical denials of Ms. Knight’s ludicrous allegations, Ms.
Knight’s unusually strong motive for bringing false charges, and the Plaintiff's
communication to Detective Boruchowitz that he was admonished by medical staff that
Ms. Knight needed to be tested for a potpourri of communicable and infectious diseases.

38, That Defendant Boruchowitz and other members of NCSO did not possess

knowledge or reasonably trustworthy information sufficient to warrant a person of

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reasonable caution in the belief that an offense had been committed by the Plaintiff, and
that there was not probable cause to charge Mr. Taylor, Plaintiff.

59, ‘That after the Plaintiff underwent his interview of the plaintiff, Defendant
Boruchowitz was then contacted by a representative of the Plaintiff, and instructed that the
Plaintiff was invoking his right to counsel, and that he was NOT to contact the Plaintiff,

60. That despite this clear instruction, the Defendant Boruchowitz, in violation
of the Plaintiff's Garrity, Miranda, and other constitutional and civil rights, called the
Plaintiff and falsely represented to Plaintiff that he (Boruchowitz) had observed the
Defendant’s car stopping in front of Irene’s Casino.

6l. In truth and in fact, Defendant Boruchowitz full well knew that the
Plaintiff's vehicle did not slow down, but was fishing for any information to support Ms.
Knight’s ridiculous allegations against the Plaintiff. He came up short.

62. That the decision made by the Defendants Boruchowitz and/or Defendant
Howard, and/or supervisory personnel at the NCSO, known and unknown, NOT to
conduct a swab of the complainant, Shannon Knight was done maliciously, wilfully, and
with intent to violate the civil rights of the Plaintiff by depriving him ofa fair
investigation.

63. That the deliberate refusal of the Defendants to appropriately conduct a
DNA test of Ms. Knight’s private areas was a violation of established policy and
procedures of the Defendant NCSO.

64. That the defendants’ deliberate refusal to administer a DNA tests of the
complainant’s private area was part.and parcel of this sinister and egregious violation of _

the Plaintiffs rights to a fair investigation, in violation of his civil rights.

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65. That this conduct is a violation of clearly established investigative policies
and procedures of virtually every law enforcement agency, including NCSO.

66, That the Plaintiff was entitled to a reasonable and fair investigation, which
includes but 1s not limited to sexual assault investigations being conducted according to
standard established policies and procedures.

67. That this failure is one of the factors that demonstrate the Defendants’
violation of the Plaintiff's civil rights.

68. That although minimal DNA testing was done on Ms, Knight, the most
critical testing of her private area was not performed; this investigative failure was
reckless, willful, against policy, all part and parcel of the serial violation of the Plaintiff's
civil rights.

69, That the Defendants deprived the plaintiff reasonable and fair investigation
as guaranteed him by the 4", 5", 6", and 14 Amendments to the United States
Constitution, and the Plaintiff is entitled to substantial actual and exemplary damages.

70. That Detective/Defendant Boruchowitz has a propensity to wrongfully
accuse law enforcement and firefighter of sexual-related crimes, having wrongfully
charged William Tidmarsh, and firefighter Allan Bigelow.

71. That as a manifestation of this common, unjawful, and unconstitutionally
biased scheme, the Plaintiff was wrongfully, maliciously, and oppressively arrested and
charged with Kidnapping, Official Oppression, and Sexual] Assault, all charges.

72. That defendant Boruchowitz further tainted the probable cause process
when he falsely stated in the arrest affidavit and at the preliminary hearing that the

plaintiffs car “appeared to slow down” in front of Irene’s Casino, said statement being

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false, and made in further of and with the deliberate intent to oppress and violate the
Plaintiff's civil rights.

73, That Defendant Boruchowitz made a material omissions in obtaining a high
and unconstitutionally oppressive bail against the Plaintiff, including but not limited to
failing to inform the magistrate that Ms. Knight had lied about the vehicle siowing down
or stopping in front of Irene’s Casino; that any reasonable and trained police officer would
know that this was the kind of information the judge would like to know, prior to issuing
an arrest warrant and prior to the setting of bail.

74, That as a result, the Defendant was forced to pay an excessive bail, and was
forced to stand trial, in violation of his civil rights.

75. That it was known to the Defendants that probable cause did not exist to
arrest and charge the Plaintiff, even without the false statements that the Defendant made
regarding the Plaintiff's vehicle appearing to slow down in front of Irene’s Casino.

70, That the Defendant Boruchowitz was in direct possession of material
impeachment evidence, namely, the video tape, which directly contradicted both Ms.
Knight’s testimony and Defendant Boruchowitz’s testimony, and such withholding of this
evidence was in violation of the Plaintiff's civil rights under the 4h 5° 68 and 14!
Amendment rights, and further tainted any probable cause finding at both the arrest
process, and the preliminary hearing process.

77. That the fact that Defendant Boruchowitz made false representations in

official proceedings and withheld material favorable impeachment evidence further

|| demonstrates that he KNEW that probable cause to arrest Mr. Taylor did not exist.

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78. That with no corroborating evidence, with evidence that rebutted Shannon
Knight’s story, with objective reasons for doubting her credibility, the Defendants, most
notably Defendant Boruchowitz wrongfully arrested the Plaintiff,

79, That Defendant Boruchowitz acted with further malice and oppression by
falsely claiming in an official proceeding, the procuring of the arrest warrant, testifying
falsely during the preliminary hearing, and testifying falsely in the trial, in order to paint a
false picture of corroboration, with the express intent of causing an unreasonably and
unconstitutionally excessive bail on Mr. Taylor, a bail of $108,000, of which Mr. Taylor
had to put up $17,000 of nonrefundable currency, and with intent to harm the Plaintiff at
the probable cause level and at the trial level, ail in violation of his civil rights.

80. That despite having no physical corroborating evidence, despite knowing
that Ms. Knight was not credible, despite knowing that physical evidence of the video tape
contradicted her statement, despite members of the community informing Defendant
Boruchowitz that she was not trustworthy, that despite law enforcement NOT wanting to
utilize her in any way as a reliable informant, that despite the Plaintiff's prompt and
adamant denials of the accusations, that despite NO DNA test results, that despite
violations of clearly established investigative policies and procedures, the Defendant
Boruchowitz and others, all acting within the scope and duties of their employ,
wrongfully, recklessly, with malice and oppressiveness, had the Plaintiff arrested and
wrongfully exerted pressure on the District Attorney’s office in order to maintain the
charges, most probably for fear of being sued for substantial damages.

_ 81. That the case against Mr, Taylor was so nonexistent that early on Mr.

Taylor was offered as a plea bargain a simple misdemeanor.

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82. That the defendant Boruchowitz thus fabricated evidence by falsely stating
and falsely testifying at the preliminary hearing and at the trial that the plaintiffs vehicle
“appeared to slow down” by Irene’s casino, in an effort to frame the plaintiff, in violation
of the Plaintiffs civil rights under the 4", 5, 6", and 14" Amendment rights.

83. That the defendant Boruchowitz, as part of his scheme to frame the
plaintiff, falsely testified at the plaintiff's criminal trial on November 29, 2011 that he
could not get the video tape to play in front of the fury; when the court called him on his
lie and ordered the defendant Boruchowitz to do whatever it takes to get the tape to play in
front of the jury, jurors literally threw up their hands in disgust with the obvious perjury-
laden trial, acquitting the plaintiffin less than 30 minutes.

84. That the defendant Boruchowitz further violated the plaintiff's civil rights
under the 4", 5", 6", and 14" Amendment rights by willfully attempting to conceal the
exculpatory video tape from the jury’s view.

85. That the defendants violated the Plaintiff's civil rights by withholding
materially impeaching “Brady” evidence at critical limes during the process, at times
where the defendants have a statutory and a constitutional obligation to provide “Brady”
material, namely the videotape showing that Plaintiff's vehicle proceeded past Irene’s
Casino at a continuous rate of speed,

86. That the Defendant Boruchowitz willfully, recklessly, and with intent to
injure the Plaintiff, tainted the probable cause process by giving perjured material
testimony.

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87. That this testimony, that the Plaintiffs vehicle had slowed down, or
appeared to slow down, was sponsored by Defendant Kirk Vitto, Esq., who knew, or had
reason to know, that the testimony was both material and false.

88, That after the tainted perjured testimony was wrongfully given and
wrongfully sponsored by Defendant Kirk Vitto, Esq., the Plaintiff was bound over for
trial.

89, That prior to the preliminary hearing, the defendant Nye County District
Attorney’s office violated the Plaintiff's civil rights by not turning over this exculpatory

testimony, namely, the video tape.

90. That when the DNA testing that WAS done was completed, it was 100%
exculpatory.
91. That despite the overwhelmingly exculpatory evidence, the defendant

District Attorney’s office refused to drop the charges, instead, attempted to evade being
sued by offering the Plaintiff a misdemeanor charge.

92. That it was clear to the Nye County District Attorney’s Office that there
was not probable cause to prosecute the Plaintiff, that Mr. Vitto as well as the Nye County
District Attorney’s office maliciously prosecuted the Plaintiff, and are to the Plaintiff for
substantial damages in the millions of dollars.

93. That the Plaintiff was forced to have several attorneys, due to complicity by
NCSO in tampering with the payment process for the Plaintiff's court appointed attorneys,
since Defendant Boruchowitz was president of the union, and a clear target for a civil
rights lawsuit.

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94, That the undersigned was originally retained by the union to represent the
Plaintiff in the criminal action, but he was forced to switch different appointed counsel
because the union, influenced by Boruchowitz and Travis Huggins (both defendants in this
action), tortiously interfered with the Plaintiff's 6% amendment right to effective counsel.

95. ‘That a Defendant has a constitutional Due Process right to Effective
Assistance of Counsel, free from unreasonable interference from outside parties and
agencies, including the Defendant David Boruchowitz and Sergeant Huggins, the husband
of Mary Huggins, who were both president of the Police Union during the time that the
Plaintiff's case progressed through the criminal courts.

96. That as president of the unions, these individuals would have an active and
substantial role in the selection of Mr. Taylor’s attorney.

97, That the defendants SGT, HUGGINS and BORUCHOWITZ, tortiously
and willfully, with intent to violate the Plaintiff's rights by selecting different attorneys
for the plaintiff, forcing the plaintiff to be deprived of his right to continuity of counsel in
this most important matter. That despite the fact that this case lingered in the system for
over three and a half years, he never had counsel last more than a year.

98. That this conduct was clearly calculated to unconstitutionally and unfairly
disrupt and undermine the sanctity and solemnity of the attorney-client relationship.

99. That the continual changing of attorneys subjected the plaintiff to extreme
emotional distress.

100. That the actions of these two defendants, and anyone else involved in the
attorney-selection process are inexcusable, and actual and punitive damages should be

awarded to the Plaintiff.

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101. That the Defendants wilfully, maliciously, and tortiously interfered with
the Plaintiff's attorney-client relationship.

102, That afier unreasonable delays, the inevitable occurred, the Plaintiff finally
had his day in court, when a jury trial was held in November 2011.

103. ‘That during the trial, the Defendant Boruchowitz committed perjury, by
among other things, stating to the jury that the Plaintiffs vehicle had appeared to slow
down as It passed Irene’s casino.

104, That this testimony was known to be false, and Defendant Boruchowitz
further committed perjury when he falsely claimed that he could not get the video tape.
which he had represented showed the Plaintiff's vehicle appearing to slow down, to play
for the jury.

105, That the District Court was not buying this excuse, and in order to protect
and honor the Plaintiff's civil rights, ordered Defendant Boruchowitz to get the tape to
play for the jury.

106, That upon playing the video tape, the jury was literally bewildered that
Defendant Boruchowitz could commit such blatant perjury; one juror held up their hands
in amazement and disgust.

107. That during the trial, the Defendant Boruchowitz summed up his
intentional and reckless disregard for the Plaintiff's civil rights by stating that his job was
not to collect evidence that would establish the Plaintiffs innocence, but only to collect
evidence to “prove Mr. Taylor guilty.”
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108. That the ploy did not succeed, the jury, after deliberating Jess than 30
minutes, cleared Mr. Taylor of all charges, the juror had tears in their eyes and lined up to
shake Mr. Taylor’s hand.

109. That the Defendants, individually and jointly, named and unnamed, have
violated the Plaintiff's civil rights, and are liable to the Plaintiff for substantial damages,

more particularly described below.

FIRST CLAIM FOR RELIEF
Violation of 42 USC 1983-Due Process-All Defendants

110, Plaintiff repeats and realleges the prior paragraphs as if fully set out
therein.
111. That Defendant Boruchowitz, in order to falsely corroborate Ms. Knight’s

allegations, fabricated a story that the Plaintiffs car appeared to be slowing down in front
of Irene’s Casino, knowing full well that the video tape he obtained showed that the
Plaintiff's vehicle traveled at a normal rate of speed.

112. That due to defendant Boruchowitz’s omissions and fabrications, the
Defendant Vitto was misled and thus was unable to exercise his own independent
professional judgment in deciding whether or not to prosecute, and therefore are liable to
the plaintiff for damages, including but not limited to bond premiums and attorney’s fees.

113. That the Defendants Boruchowitz, Vitto, acting within the scope and
respective duties, and others known and unknown, wrongfully obtained probable cause at
the preliminary hearing by assembling false statements, misrepr esenting evidence, and
attempting to concealing exculpatory information from the Pl laintiff, in violation of

procedural due process.

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114, That the Defendants Boruchowitz, and others, known and unknown
attempted to secure the Plaintiff's conviction by assembling false statements,
misrepresenting evidence, and attempting to concealing exculpatory information from the
jury, infringing on his right to a fair trial, in violation of procedural and substantive due
process.

115. That the Defendants Boruchowitz and Ltnt. Huggins, as officers of the
union which is responsible for the selection of counsel for the plaintiff, used their
influence to withhold payment to the undersigned, who was aggressively and successfully
defending the plaintiff. and kept selecting different attorneys for the plaintiff.

116. That this conduct willfully and deliberately interfered with the Plaintiff's
Due Process rights to continuity of counsel.

117. That the defendant Kirk Vitto, after the case had progressed past the
preliminary hearing level, came into materially exculpatory evidence, including but not
limited to the DNA test results, which made Ms. Knight’s story implausible and
impossible.

118. That as a trained prosecutor, he knew that there was not probable cause to
prosecute the Plaintiff, that no reasonable prosecutor, sworn to seek Justice, would have
instituted or continued prosecution of these charges.

119. That despite knowing that the DNA testing that WAS given mortally
refuted the state’s case, and despite knowing that Ms. Knight was not credible, Mr. Vitto
delayed the case for years and caused the Plaintiff to go to trial, backing out at the last
minute for someone else, a “special prosecutor,” to try the case.

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120. That Mr. Vitto, acting within the scope of his duties as a member of the
Nye County District Attorney’s office was not exercising his independent professional
judgment, consistent with his duties to seek justice, but instead was more concerned with
the possibility of civil] rights litigation than seeking justice and the defendants Vitto,
Beckett are liable to the Plaintiff for substantial damages.

121. That Mr. Vitto, acting in the scope of his duties as a member of the Nye
County District Attorney’s office, allowed misrepresentations, omissions and fabricated
evidence to be given to the prosecutor, in order that prosecution would not be terminated.

122, That the conduct of Mr. Vitto, Defendant Boruchowitz, and other
defendants, known and unknown, prevented the special prosecutor from being able to
exercise HIS own independent professional judgment.

123, That the failure to properly investigate this case by among other things, not
obtaining a DNA swab from the Ms. Knight, in violation of weil established policies and
procedures, and by using false statements to wrongfully charge the Plaintiff, the
Defendant in violation of the Plaintiff's due process rights to a reasonable and fair
investigation.

124, That consistent with his expressed testimony, Defendant Boruchowitz
perceived his task as getting a conviction, thus manifesting his willful and wanton
intentions to violate the Plaintiff's procedural and substantive due process rights.

125, That his expressed testimony is corroborated by his fabrication of evidence
and his attempts to obstruct justice by falsely stating to the jury that the video tape in

the tape showed the Plaintiffs vehicle appearing to be slowing down.

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126. That the investigation itself violated established policy of collecting DNA
samples from areas where a complainant states that there was penetration.

127, That the investigation and arrest of the Plaintiff was in violation of clearly
established investigative policy, and in further violation of the Plaintiff's civil rights.

128. That this described conduct violated the Plaintiffs substantive and
procedural Due Process rights.

129. That the wrong and unlawful acts of the defendants were willful,

oppressive, and malicious and with wanton disregard for the established rights of the

 

 

Plaintiff,
SECOND CLAIM FOR RELIEF
Malicious prosecution under 42 USC 1983
130. Plaintiff realleges the prior paragraphs as if fully set out therein.
131, That the elements of malicious prosecution, arising from termination

of the criminal prosecution, are (1) want of probable cause, (2) malice, (3)
termination of litigation, and (4) damages.

132. That the Defendant Boruchowitz possesses a propensity to recklessly,
prematurely, and without true probable cause initiate arrests of Jaw enforcement and other
public servants of sexually related charges.

133. That as proof of this continuing and curious common scheme and animus,
he caused the Plaintiff to be arrested and required to post a clearly excessive bail, with the
specific intent to violate the plaintiffs rights, here by the omission of material evidence

and of the fabrication of evidence, and other bad faith tactics.

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134, That as further corroboration, Defendant Boruchowitz, NCSO, and the Nye
County District Attorney’s office caused William Tidmarsh to be prematurely arrested for
a sex related offense, when DNA testing performed on the complainant’s clothing
absolutely exonerated him, said charges being dismissed after languishing in the system
for several years, causing substantial harm and prejudice to Tidmarsh, in violation of his
civil rights. William Tidmarsh was also forced to pay a clearly excessive bail.

135, That as further corroboration, former firefighter Alan Bigelow was falsely
charged by Defendant Boruchowitz for sexual assault, and those charges were dismissed.

136. That the Plaintiffs prosecution, including the arrest, probable cause
finding, and trial was induced by fraud, corruption, perjury, fabricated evidence, or other
wrongful conduct undertaken in bad faith, in violation of the Plaintiff's 4ih sth 6" and 14%
amendment rights. That not only was there fraud, perjury, fabricated evidence, or other
wrongful conduct undertaken in bad faith, but also there was not probable cause to charge
the Plaintiff, much less continue prosecution, when minimal further investigation would
have exonerated him. The DNA results exonerated the Plaintiff, made the complainant’s
story impossible, and a routing and policy test of the complainant’s vaginal area wouid
have further exonerated him.

137, That the prosecution was baseless, instituted with unconstitutionally tainted
probable cause, and the proceedings were clearly terminated in his favor, as the Plaintiff
was acquitted in less than 30 minutes by a jury of his peers.

138. That Defendant Boruchowitz and other NCSO officers and personnel,

known and unknown, Mr. Vitto, Mr, Beckett, acting in his capacity as District Attorney _

for Nye County, maliciously prosecuted the Plaintiff by pressuring the prosecution, in

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violation of the Plaintiffs due process rights.as hereby specifically included and

 

 

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> incorporated as though fully set forth herein.

° THIRD CLAIM FOR RELIEF

4 Violation Of Civil Rights- 42 USC Sec. 1983-NCSO, Boruchowitz, Huggins,
Howard, Marshall

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6 139. Plaintiff repeats and realleges the prior allegations as if fully set out therein.

7 140, That at all times material herein, Defendant County promulgated, promoted

8 || and pursued policies, practices and/or customs which resulted in the disparate treatment of

g similarly-situated individuals, as alleged herein, in violation of the Equal Protection

40 Clause of the Fourteenth Amendment to the United States Constitution and 42 U.S.C. §
i 1983. Plaintiff is informed and believes and thereon alleges that Defendant County's
Me discriminatory treatment of the plaintiff, in contrast to similarly situated sexual assault
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suspects, as alleged herein, did not serve a legitimate penological purpose.

« 141. That the Plaintiff was entitled to a reasonable and fair criminal

16 investigation.

7 142. That in the investigation of the plaintiff, the defendants Boruchowitz,

1g || Huggins, and others, known and unknown willfully and recklessly violated the plaintiff's
19 || due process rights by conducting a constitutionally inadequate, unreasonable investigation,
20 || by fabricating evidence, by willfully ignored evidence that suggested the plaintiff's

41 | innocence, by violating clearly established policy and procedures that mandate swabbing

22 VI of alleged victims of sexual assault, and by systematically applying undue pressure to
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implicate the plaintiff in the face of substantial exculpatory evidence, by recognizing
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deficiencies in their case and manufactured false evidence including but not limited to
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falsely testifying that the Plaintiffs vehicle appeared to slow down and falsely claiming
that the video would not function correctly in order that it may be presented to the jury.

143, That these Defendants, under color of law, deprived Plaintiff of his rights
provided by the Fourth, Fifth, Eighth, and Fourteenth Amendments to the United States
Constitution.

144, That by reason of the aforesaid actions, Plaintiff was arrested, incarcerated,
and charged with crimes he did not commit. As a result, Plaintiff sustained severe
emotional, psychological, and physical injuries, mental pain and suffering, and emotional
distress, all of which said conditions may be permanent or disabling in nature.

145. These acts and others committed by the Defendants deprived Plaintiff of
rights secured to him by the Fourth, Fifth, Eighth and Fourteenth Amendments to the
United States Constitution and were committed by each of the Defendants knowingly,
willfully, and maliciously with the intent to harm, injure, vex, harass, and oppress
Plaintiff. As a result, Plaintiff should be awarded punitive and exemplary damages from

Defendants, and each of them, in excess of the jurisdiction of this court.

FOURTH CLAIM FOR RELIEF
False Arrest

146. Plaintiff realleges the prior paragraphs as if fully set out therein.

147. That the defendant BORUCHOWITZ and other DOE POLICE OFFICERS
gave statements which falsely accused Plaintiff of serious charges. ‘These statements were
given with the intent that Plaintiff would be arrested, charged, and incarcerated pursuant to
Defendant’s statements.

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148, Plaintiff's arrest was Hlegal and void in that the declarations and statements
made by Defendants BORUCHOWITZ and OTHER DOE POLICE OFFICERS were
false, misleading, lacking in probable cause and propounded solely to have Plaintiff
wrongly arrested,

149, That by reason of the foregoing, Plaintiff was deprived of his liberty, was
subjected to scorn, ridicule, and humiliation by those knowing of his arrest, and prevented
him attending to his employment during the period of his respective arrest and
incarceration.

150. The aforementioned acts in effectuating the arrest against Plaintiff were

unreasonable and constituted a false arrest.

151. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
suffered damages and is entitled to compensation for his pain and suffering, lost earnings,

fost earning capacity, and other related costs including but not limited to attorney fees, in

excess of the jurisdictional minimums of this court.

152. That the acts, conduct, and behavior of Defendants BORUCHOWITZ,
HUGINGS POLICE OFFICER DOES. were performed knowingly, intentionally,

oppressively, and maliciously by reason of which Plaintiff is entitled to punitive damages.

FIFTH CLAIM FOR RELIEF
intentional Infliction of Emotional Distress

153. That Plaintiff repeats the prior paragraphs as if fully set out therein.
154. That at all times material and relevant, the Defendants were acting within

the scope of their authority as agents and officers of defendant NCSO and NYE COUNTY
DISTRICT ATTORNEYS OFFICE.

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155, That to sustain a claim for intentional infliction of emotional distress, the
following elements must exist: (1) the conduct involved must be extreme and outrageous;
(2) the actor must either intend that his conduct inflict severe emotional distress or know
{hat there is at least a high probability that his conduct will cause severe emotional
distress; and (3) the conduct must in fact cause severe emotional distress,

156. That by their acts and omissions, the Defendants and each of them
intentionally inflicted emotional distress on Plaintiff, as described above.

157. That the conduct of the Defendants described above has caused the Plaintuf
to endure humiliation, anxiety, embarrassment and severe emotional distress.

158, That this conduct That this conduct was extreme and outrageous, and
exceeds all possible bounds of decency and which would arouse resentment against the
actors and lead to an exclamation of “outrageous” by an average member of the community.

159. That the Defendants knew, intended, should have known, or known that there
is a high probability that this conduct would cause severe emotional distress.

160, That this conduct is so extreme that no reasonable person can be expected to

endure it.

161. That the Defendants’ That the Defendants’ actions are without just cause In
a civilized society.

162, That the Defendants are liable to the Plaintiff for compensable as well as
punitive damages.

163. That the Plaintiff is entitled to reasonable attorney's fees.

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SIXTH CLAIM FOR RELIEF
Civl Conspiracy - all Defendants

164, Plaintiff realleges the prior paragraphs as if fully set out therein,
165. That at all material and relevant herein, Defendants were acting within the

scope of their authority as agents and officers of defendant NCSO and NYE COUNTY
DISTRICT ATTORNEY’S OFFICE.

166. That at all times material and relevant herein, the Defendants were acting in
concert with each other.

167, That the Defendants, known and unknown, combined, conspired,
confederated, and agreed together and with each other to knowingly and willfully engage
in the following acts, among others to cause harm to Plaintiff:

a) To violate Plaintiff's civil rights;

b) to maliciously prosecute Plaintiff;

c) to falsely arrest Plaintiff;

d) to falsely imprison Plaintiff and

e) to intentionally inflict emotional distress on Plaintiff.

168. As a direct and proximate result of Defendants’ unlawful conduct, Plaintiff
suffered damages and ts entitled 1o compensation for his pain and suffering, lost earnings,
medical expenses, and other related costs including but not limited to attorney fees.

169, The conduct of the Defendants and each of them individually and in
concert with one another as herein alleged was willful, intentional, oppressive, malicious,
and done in a wanton and reckless disregard of Plaintiff's rights and thereby warrant the

imposition of substantial punitive damages in the millions of dollars.

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SEVENTH CLAIM FOR RELIEF
Negligent Hiring, Supervision, and Retention

170, Plaintiff repeats the prior allegations as if fully set out therein.
171. These Defendants had a duty to exercise reasonable care in the hiring,
training, supervision, and control over those officers and employees involved in Plaintiff's

improper seizure and detention.

172. That the Defendant NCSO knew that Detective Boruchowitz had a
penchant for brining false charges against individuals, especiaily those in a law
enforcement capacity.

173, These Defendant NCSO breached the duties delineated in paragraph 164.

174, That as a direct and proximate result of Defendants’ conduct as described
herein, Plaintiff experienced damages and is entitled to compensation for his pain and
suffering, lost earnings, medical expenses, and other related costs including but not limited
to attorney fees

175, The conduct of the Defendants and each of them individually and in
concert with one another as herein alleged was done in a reckless disregard of Plaintifi's

rights and thereby warrant the imposition of punitive damages in the millions of dollars.

EIGHT CLAIM FOR RELIEF
Wrongful Termination and Unjust Enrichment-NCSO and NYE COUNTY

176. Plaintiff repeats and realleges the prior paragraphs as if fully set out herein.
177. That the Plaintiff had retained evidence in a criminal case at his residence,

all tagged, with no chain of custody issues.

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178, That members of NCSO routinely took evidence home with them, so long
as the chain of custody was not affected,

179. That in this instance, the Plaintiff was confronted with the choice of
resigning or being terminated, even though similarly situated individuals had not been
subject to this Hobson choice.

180, That the Plaintiff was days from vesting, and had more than sufficient
accrued time to cover the amount of days required to vest.

181. That the Plaintiff was not allowed to vest, and was maliciously and
wrongfully denied his pension.

182, That this infraction has not been applied in this form and fashion to
similarly situated individuals, and has never been applied to officers of Nye County who
are not of African-American descent.

183. That as a result of the wrongful termination, the Plaintiff has been damaged
in an amount to be established at trial.

184, That by not paying the pension, NYE COUNTY and/ or NCSO has been
unjustly enriched.

185. That the refusal to pay his pension constitutes an unjust enrichment, and the

County of Nye and/or NCSO is liable to the Plaintiff.
RIGHT TO AMEND

186. Plaintiff reserves his right to amend this complaint and add additional
defendants and causes of action that relate back to this original complaint as discovery

proceeds,

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WHEREFORE, Plaintiff prays for relief as follows:

1. For compensatory and special damages:

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. For punitive damages;

. For costs and attorney fees incurred in prosecuting this action; and

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4. For such further relief as the Court deems warranted.

Dated this day of November, 2013

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/s/ C, Conrad Claus, Esq.

C. CONRAD CLAUS, ESQ.

THE LAW OFFICES OF C. CONRAD
CLAUS

Nevada Bar No. 6601

816 E,. Ogden Ave.

Las Vegas, NV 89101

(702) 384-4927 Phone

(702) 385-4927 Fax

Attorney for Petitioner

 
